` "Case 5:12-cV-00561-I\/|I\/|H-PRL Document 2 Filed 10/04/12 Page 1 of 3 Page|D 45

rN THE cIRcurr coURT,
Fn-TH JUDICIAL cmcul'r,
iN AND 1=0R MARloN coUNTY,
FLoRIDA
KELLY MrrcHELL, cAsE No.: la-‘b&’)la.on~$
Plaintit‘t', DTVISION:

.vs-

FREDERICK OW'ENS, and
'l`RANS-CARRIERS, INC.

Defendants.
/

COMPLAINT AND DEMAND FOR JURY TR!AL
The Plaintiff sues the Defendants and allege:

GENERAL ALLEGATIoNs n

 

l. This is an action for damages in excess of $15,000.00.

2. At all times material hereto, the Plainti&', Kelly Mitchell, was a resident of Marion
County, Florida.

3. At all times material hereto, the Defendant, Frederick Owens, was a resident of
Walker County, Texas residing at 71 Knox Circle, Huntsville, Texas.

4. At all times material hereto, Defendant, Trans-Carrieis, Inc., was an Arkansas
corporation with its principal address at 5135 Highway 78, Memphis, Tennessee.

5. That the collision giving rise to this litigation occurred on June 6, 2011, at 4:29
p.m., on Southbound lnterstate 75 at or near mile marker 337.3, Marion County, Florida.

6. That on June 6, 2011, Frederick Owens, while in the course and scope of his
employment with Defendant Trans-Caniers, lnc., negligently drove his vehicle into the

Plaintift’s vehicle

‘ '~Case 5:12-cV-00561-I\/|I\/|H-PRL Document 2 Filed 10/04/12 Page 2 of 3 Page|D 46

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7. That at all times material hereto Defendant, Frederick Owens, had a duty to
operate the vehicle with reasonable care for other motorists such as the Plaintiff.
8. That Defendant, Frederick Owens, negligently breached that duty when he
collided with Plaintift’s vehicle.
9. ’l`hat Defendant, Trans-Carn'ers, Inc., is vicariously liable for the negligent action
of Frederick Owens while in the course and scope of his employment with Trans-Carriers, Inc.
Q...UN_'I`__I.

NEGLIGENT OPERATION OF MOTOR VEHICLE BY DEFENDANT
FREDERICK OWENS

 

 

Plaintiffs, reallege paragraphs one through nine and further allege:

lO. 'I'hat on or about June 6, 2011, Frederick Owens, negligently drove a motor
vehicle in a manner so that it collided with Plaintift’s vehicle on the roadway.

ll. As a direct and proximate result of the negligence of Defendant, Frederick
Owens, Plaintiff suffered bodily injury and resulting pain and suffering, disability,
distigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatrnent, loss of eamings, loss of ability to earn
money and aggravation of a previously existing condition. The losses are either permanent or
continuing and plaintiff will suffer the losses in the fixture Plaintift`, Kelly Mitchell, has
sustained permanent injuries within a reasonable degree of medical probability.

WHEREFORE, Plaintiff`, Kelly Mitchell, demands judgment for damages and costs
against Defendant, I-`rederick Owens, and a trial by jury of all issues herein.

COUNT II
VICARIOUS LIABIL!TY AS TO DEFENDANT, TRANS-CARRIERS, INC.

Plaintiff, realleges paragraphs one through nine and further allege:

` ‘°Case 5:12-cV-00561-I\/|I\/|H-PRL Document 2 Filed 10/04/12 Page 3 of 3 Page|D 47

12. At the date and time specified above, Frederick Owens was operating a motor
vehicle while in the course and scope of his employment with Trans-Cam'ers, Inc., in a negligent
manner causing the subject collision.

13. As employer of Frederick Owens, Defendant Trans-Carriers, Inc., is vicariously
liable for Freden`ck Owens’s negligent actions while in the course and scope of his employment

14. As a direct and proximate result of the aforesaid negligence, Plaintit?, Kelly
Mitchell, suffered bodily injury and resulting pain and suffering, disability, disiigurement,
mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization, medical
and nursing care and treatment, loss of earnings, loss of ability to earn money and aggravation of
a previously existing condition. The losses are either permanent or continuing and plaintiff will
suffer the losses in the future. Plaintiff, Kelly Mitchell, has sustained permanent injuries within a
reasonable degree of medical probability.

WHEREFORE, Plaintiff, Kelly Mitchell, demands judgment for damages and costs
against Defendant, Trans-Carriers, Inc., and a trial by jury of all issues herein.

FARAH & FARAH, P.A.

W/M//H

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